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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                        JACKSONVILLE DIVISION


SARAH MCCRIMMON and CARON
DETTMANN, as Co-Administrators
of the Estate of Curtis
Dettmann,

                    Plaintiffs,

v.                                              Case No. 3:20-cv-36-BJD-JRK

CENTURION OF FLORIDA, LLC,
et al.,

                 Defendants.
____________________________________

                                     ORDER

      Defendants’ Notices of Offer of Judgment to Plaintiff (Docs. 157–163) are

STRICKEN. The rules of procedure do not provide for the filing of such

notices. See Fed. R. Civ. P. 68(a) (providing an offer of judgment may be filed

only after the offer is accepted).

      DONE AND ORDERED at Jacksonville, Florida, this 19th day of

October, 2021.




caw 10/15
c:
Counsel of Record
